CM/BCF - USDC Massachusetts - Version 6.2.2 as of2/9/2019               http3://cc£m1td.circl.dcn/cgi-bin/Dispatch.pl?l993279371188



         UNITED STATES DISTRICT                                                         F' ~D
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                                                                    DISTRICT OF MASSACHUSETTS
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                                     PAUL JONES
                                            Plaintiff
                                                                                   Civil Action No.: l:19-CV-11076-
                                                v.                                 FDS

                         DOLAN CONNLY P.C., ET AL.
                                           Defendant




                                                SUMMONS IN A CML ACTION

           To: (Defendant's name and address)   O\\\QJ\) g         .p C_
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                                                TRov t       M1 '-T?t>? 1/                                                                                 . ·
                A lawsuit has been filed against you.

                Within 21 days after service of this summons on you (not counting the day you received it) --- or
           60
           days if you are the United States or a United States agency, or an officer or employee of the United
            States
          - described in Fed. R.. Civ. P. 12 (a.)(2) or (3) --- you must B0rVQ on the plaintiff an answer to the attached
           complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
           must be
           served on the plaintiff or plaintiffs attorney, whose name and address are~
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                If you fail to respond, judgment by default will be entered against you for the relief demanded in
           the complaint You also must file your answer or motion with the court.




l of3                                                                                                                                                             5/9/2019, 2:02
CM/ECF- USDC Massachusetts - Version 6.2.2 as of2/9/2019                 https://ecf,mad.circ l .dcnlcgi-bin/Dispatch.pl? 19932793711883.




            ROBERT M. FARRELL
           CLERK OF COURT

            Isl - Matthew McKillop
          Signature of Clerk or Deputy Clerk


          ISSUED ON 2019-05-0914:01:54.0, Clerk USDC OMA



                    Civil Action No.: 1:19-CV-11076-FDS

                                                           PROOF OF SERVICE

                         (This section should not be flied with the court unless required by Fed. R. Civ. P. 4 (l))

                         Thi\ swnmons for (name of individual and title, if any)
                      ~o..rJ S         et
                    was received by me on (date)     05/t~ j   J   y
                  I personally served the summons on the individual at
                0 (place)._ _ _ _ _ _ _ _ _ __

                    _ _ __ _ __ _ _ _ _ _ _ __ on (date)._ _ _ _ _ _ __ _ __ ; or


                  I left the summons at the individual's residence or usual place of abode with
                0 (name)_ _ _ __

                    _ _ _ _ _ _ _ _ _ _ _ __, a person of suitable age and discretion who resides
                    there,

                    on (date) _ _ _ _ _ _ _ , and mailed a copy to the individual's last lmown address; or

                ~rved the summons on (name of individual) ~ \ -e__          ~ I\ Orct ~(Re31>fe1eP A3~ is
                    designated by law to accept service of process on behalf of (name of
                    organization)_ _ _ _ __

                     0~ \ cttJS   C       7.
                    -=---'--'----=-------------- - on(date)                                  OGJ/07)}7
                                                                                                  i
                                                                                                                   ; or

                    I returned the summons unexecuted because_ _ _ _ _ __ _ __ _ _ _ _ __
                0
                    or



2of3                                                                                                                  5/9/2019, 2:02 P
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                •   Qther (specify):



                    My fees are $ _ _ _ for travel and $_ _ _ _ for services, for a total of
                    $   /<{;QV

                    I declare under penalty of perjury that this information is true.




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                                  Date                                                  Server's Signature

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         Additional information regarding attempted service, etc:




 3 of3                                                                                                                S/912019, 2:02 P
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   USPS Tracking®                                            FAQs




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       Tracking History                                                                                            V



       Product Information                                                                                         V



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    SENDER: COMPLETE THIS SECTION

 •       Complete Items 1, 2, and 3.
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;•       Print your name and address on the reverse                                                           •Agent
!        so that we can return the card to you.                                                               •Addressee
;•       Attach this card to the back of the mallpiece,                                                C. Date of Delive,y
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